           Case 1:25-cv-01678        Document 1     Filed 05/27/25   Page 1 of 47




                          THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
ACK FOR WHALES, INC., a Massachusetts non-profit
corporation, P.O. Box 3057, Nantucket, MA 02584;
VALLORIE OLIVER, a resident of Massachusetts, 3B
Newtown Road, Nantucket, MA 02554; AMY DISIBIO, a
resident of Massachusetts, 4 Masaquet Avenue,
Nantucket, MA 02554; VERONICA BONNET, a resident
of Massachusetts, 15 Shimmo Pond Road, Nantucket, MA
02554; DOUGLAS LINDLEY, a resident of
Massachusetts, P.O. Box 2394, Nantucket, MA 02584;
STEVEN KOHLER AND SHARYL KOHLER, residents
of Massachusetts, PO Box 2754, Nantucket, MA 02584;
DANNY PRONK, a resident of Massachusetts, 40 Vesper
Lane, Nantucket, MA 02554; WILLIAM
VANDERHOOP, a resident of Massachusetts, P.O. Box
83, 12 Old South Road, Aquinnah, MA 02535; GREEN
OCEANS, a Rhode Island non-profit corporation, P.O.          Case No. 1:25-cv-01678
Box 976, Little Compton, RI 02837; RHODE ISLAND
PARTY AND CHARTER BOAT ASSOCIATION, a                        Honorable
Rhode Island not-for-profit corporation, P.O. Box 171,
Wakefield, RI 02880; CAPE COD CHARTER BOAT
ASSOCIATION, INC., a Massachusetts non-profit
corporation, P.O. Box 195, S. Dennis, MA 02660;
CONNECTICUT CHARTER AND PARTY BOAT
ASSOCIATION, INC., a Connecticut non-stock
corporation, 20 1st St., Waterford CT 06385; MONTAUK
BOATMEN AND CAPTAINS ASSOCIATION, INC., a
New York not-for-profit corporation, P.O. Box 1908, East
Hampton, NY 11937; WAMPANOAG TRIBE OF GAY
HEAD AQUINNAH, a federally recognized Indian Tribe,
20 Black Brook Rd, Aquinnah, MA 02535,

                            Plaintiffs,

                     v.

UNITED STATES DEPARTMENT OF COMMERCE,
1401 Constitution Avenue, NW, Washington, DC 20230;
HOWARD LUTNICK, in his official capacity as the
Secretary of Commerce, 1401 Constitution Avenue, NW,
Washington, DC 20230; NATIONAL MARINE
FISHERIES SERVICE, 1315 East-West Highway, Silver
Spring, MD 20910; and EUGENIO PIÑEIRO SOLER, in
his official capacity as the Assistant Administrator,
National Marine Fisheries Service, 1315 East-West
           Case 1:25-cv-01678         Document 1        Filed 05/27/25      Page 2 of 47




Highway, Silver Spring, MD 20910; BUREAU OF
OCEAN ENERGY MANAGEMENT, 1849 C Street NW,
Washington, DC 20240; WALTER CRUICKSHANK in
his official capacity as the Director of the Bureau of
Ocean Energy Management, 1849 C Street NW,
Washington, DC 20240; UNITED STATES
DEPARTMENT OF INTERIOR, 1849 C Street NW,
Washington, DC 20240; DOUG BURGUM, in his official
capacity as the Secretary of the Interior, 1849 C Street
NW, Washington, DC 20240,

                              Defendants.



     Complaint For Declaratory and Injunctive Relief To Set Aside Final Agency Action
        Plaintiffs ACK FOR WHALES, INC., VALLORIE OLIVER, AMY DISIBIO,

 VERONICA BONNET, STEVEN KOHLER AND SHARYL KOHLER, DOUGLAS LINDLEY,

 DANNY PRONK, WILLIAM VANDERHOOP, GREEN OCEANS, RHODE ISLAND PARTY

 AND CHARTER BOAT ASSOCIATION, CAPE COD CHARTER BOAT ASSOCIATION,

 CONNECTICUT CHARTER AND PARTY BOAT ASSOCIATION, MONTAUK BOATMEN

 AND CAPTAINS ASSOCIATION; and, WAMPANOAG TRIBE OF GAY HEAD AQUINNAH

 (“Plaintiffs”) by its attorneys file this Complaint against Defendants United States Department of

 Commerce; United States Secretary of Commerce HOWARD LUTNICK; National Marine

 Fisheries Service; Director of the National Marine Fisheries Service, EUGENIO PIÑEIRO

 SOLER; Bureau of Ocean Energy Management; Director of the Bureau of Ocean Energy

 Management, WALTER CRUICKSHANK; U.S. Department of Interior; and, DOUG BURGUM,

 Secretary of the Interior, and allege the following.

                                            Nature of the Action

                This is an action for declaratory and injunctive relief, challenging the failure of the

 Bureau of Ocean Energy Management’s (“BOEM”) and National Marine Fisheries Service


                                                   1
           Case 1:25-cv-01678        Document 1        Filed 05/27/25      Page 3 of 47




(“NMFS”) to comply with numerous statutes and their implementing regulations, including: the

Marine Mammal Protection Act (“MMPA”), the Endangered Species Act (“ESA”), the Outer

Continental Shelf Lands Act (“OCSLA”), the National Historical Preservation Act (“NHPA”) and

the Administrative Procedures Act (“APA”). Plaintiffs seek orders vacating and setting aside as

unlawful the recent project Record of Decision (“ROD”) issued by BOEM approving New

England Wind 1 and 2 (hereinafter, “New England Wind”), the Biological Opinion, and Letter of

Authorization issued by NMFS for New England Wind.

               NMFS’ issuance of the Biological Opinion (“BiOp”), and BOEM’s award of the

lease to the project area and issuance of the ROD, now constitute final agency actions pursuant to

the APA.

               NMFS’ Biological Opinion is violative of the ESA. NMFS’ BiOp is flawed and

unlawful, BOEM’s reliance on the BiOp in approving New England Wind was arbitrary and

capricious.

               NMFS’ approval of the MMPA Letter of Authorization was arbitrary and

capricious.

               In this suit, Plaintiffs ask this Court to invalidate the putative approvals of the New

England Wind Project until and unless the Federal Government complies with the relevant statutes

and regulations. Each federal statute delineated infra provides independent grounds on which the

approval of New England Wind should be vacated.

               In all of the allegations, infra, Plaintiffs incorporate by reference all contents of

their Notice of Intent to Sue under the ESA of January 13, 2025.

                                         Jurisdiction and Venue

               This Court has jurisdiction over the subject matter of this action pursuant to 28



                                                 2
           Case 1:25-cv-01678          Document 1         Filed 05/27/25   Page 4 of 47




U.S.C. § 1331 (federal questions), 28 U.S.C. § 1346 (United States as defendant), 16 U.S.C § 1361

et seq. (MMPA), 28 U.S.C. § 2201 (declaratory judgment), 28 U.S.C. § 2202 (injunctive relief)

16 U.S.C. 1531 et seq. (ESA), 43 U.S.C. § 1331 et seq. (OCSLA), 54 U.S.C. § 300101 (NHPA)

and 5 U.S.C. § 701 through 706 (APA).

                Final agency decisions are subject to judicial review. Plaintiffs have met all

applicable statute of limitations, namely, the six-year statute of limitations, pursuant to 28 U.S.C.

§ 2401, and the two-year statute of limitations for FAST-41 Act, set forth at 42 U.S.C. § 4370m-

6(a)(1)(A).

                For all claims brought under the APA, Plaintiffs have exhausted all administrative

remedies available to them.

                Pursuant to 16 U.S.C. § 1540(g), on January 13, 2025, Plaintiffs sent a 60-day

notice of intent (“NOI”) to sue to NMFS and BOEM over their respective failures to comply with

the ESA when reviewing and approving the New England Wind project, including the issuance of

the Project’s BiOp.

                Venue is properly vested in this Court pursuant to 28 U.S.C. § 1391(e) because all

of the Federal Defendants reside in this district and a substantial part of the events or omissions

giving rise to the claims occurred in this district.

                                                Parties

                Plaintiff ACK FOR WHALES is a 501(c)(3) non-profit corporation established to

protect the natural and human resources that are threatened by BOEM’s massive offshore wind

energy program and its component elements, including the New England Wind Project. The

members of ACK for Whales will be able to view the Project from various vantage points (public

and private) on Nantucket. Plaintiffs Vallorie Oliver, Amy DiSibio and Veronica Bonnet own



                                                   3
           Case 1:25-cv-01678          Document 1         Filed 05/27/25       Page 5 of 47




properties on Nantucket. Moreover, they frequently travel on, through, and over coastal waters

that will be affected by the New England Wind project, including waters wherein marine mammals

(some of which listed as threatened or endangered) frequent. ACK For Whales and its constituent

members have ardent interests in protecting these marine mammals, including the North Atlantic

Right Whale, as well as the cultural and historical heritage of Nantucket from the inimical effects

of New England Wind. National Marine Fisheries Service and Bureau of Ocean Energy

Management both abdicated their duties to comply with various environmental statutes and

regulations by approving New England Wind. For example, Plaintiff Vallorie Oliver of ACK for

Whales, will suffer harm under the ESA, MMPA, and OCSLA (see allegations infra under Plaintiff

Vallorie Oliver establishing individual standing). As such, ACK for Whales and its members are

and have been harmed by the federal agencies’ failure to comply with the statutes and regulations

designed to protect marine mammals, including the ESA, MMPA, and OCSLA (and their harms

fall squarely within the zone of interests of those statutes). As a direct result of the federal agencies’

approvals of New England Wind, ACK for Whales and its constituent members will suffer harm

under the ESA, MMPA, and OCLSA, traceable to the agencies’ sanctioned activities of New

England Wind, and redressable by this Court.

                Plaintiff VALLORIE OLIVER – a founding member of ACK for Whales - is an

individual who resides in Nantucket and has done so her entire life. She travels on and through

and utilizes the waters around Nantucket. She considers it her responsibility to guard those waters

and all the plant and animal life within it. She has personally observed whales and dolphins, likely

including migrating Humpbacks and North Atlantic Right Whales, from the shore of Nantucket,

and on occasion, while out boating on the waters surrounding Nantucket. She has concrete plans

for future observances of whales and dolphins in this area near and adjacent to Nantucket. Thus,



                                                    4
          Case 1:25-cv-01678         Document 1       Filed 05/27/25      Page 6 of 47




she is a person for whom the aesthetic and recreational values of the area is and will be lessened

due to BOEM’s approval of New England Wind, and particularly, by New England Wind’s pile

driving/construction and later operations, which will negatively impact and impair Plaintiff

Oliver’s ability to personally observe the whales and dolphins. Additionally, she customarily

frequents the beaches along Nantucket’s shores. Her formerly unencumbered views of the ocean

and marine life will be marred further by the New England Wind Project, as the Project’s wind

turbines will be clearly visible from the Nantucket shoreline, like the now Vineyard Wind 1

turbines which are not as tall as the proposed New England Wind turbines. The proposed New

England Wind project threatens the resources that make Nantucket the idyllic place that Vallorie

Oliver has chosen to call her lifelong home. Ms. Oliver is also deeply invested in the historical

heritage of Nantucket, and sits as a Commissioner on the Nantucket Historic District Commission

trying to protect the Island’s National Historic Landmark Status, which the New England Wind

project will invariably further damage. As a direct result of the federal agencies’ approvals of New

England Wind, Plaintiff Oliver will suffer harm under the ESA, MMPA, and OCLSA (and her

harms fall squarely within the zone of interests of those statutes), traceable to the agencies’

sanctioned activities of New England Wind, and redressable by this Court.

               Plaintiff AMY DISIBIO, a member of ACK for Whales, also owns property on

Nantucket, and travels on and through and utilizes the waters around Nantucket. She considers it

her responsibility to guard those waters and all the plant and animal life within it. She has

personally observed whales and dolphins, likely including migrating Humpbacks and North

Atlantic Right Whales, from the shore of Nantucket and on boating trips adjacent to Nantucket.

She has concrete plans for future observances of whales and dolphins in this area near and adjacent

to Nantucket. Thus, she is a person for whom the aesthetic and recreational values of the area is



                                                 5
           Case 1:25-cv-01678         Document 1       Filed 05/27/25       Page 7 of 47




and will be lessened due to BOEM’s approval of New England Wind, and particularly, by New

England Wind’s pile driving/construction and later operations, which will negatively impact and

impair Plaintiff DiSibio’s ability to personally observe the whales and dolphins. Additionally, she

customarily frequents the beaches along Nantucket’s shores. Her views of the ocean and marine

life will be marred further by the New England Wind Project, as the Project’s wind turbines will

be clearly visible from the Nantucket shoreline, negatively impacting the pristine natural setting

of thousands of acres of preserved shorelines and unobstructed views of the horizon. Ms. DiSibio

has been visiting Nantucket for multiple decades. Ms. DiSibio is also deeply invested in the

historical heritage of Nantucket, which the New England Wind project will invariably damage. As

a direct result of the federal agencies’ approvals of New England Wind, Plaintiff DiSibio will

suffer harm under the ESA, MMPA, and OCLSA (and her harms fall squarely within the zone of

interests of those statutes), traceable to the agencies’ sanctioned activities of New England Wind,

and redressable by this Court.

               Plaintiff VERONICA BONNET, a member of ACK for Whales, also owns

property on Nantucket, and travels on and through and utilizes the waters around Nantucket. She

considers it her responsibility to guard those waters and all the plant and animal life within it. She

has personally observed whales and dolphins, likely including migrating Humpbacks and North

Atlantic Right Whales, from the shore of Nantucket. Ms. Bonnet regularly observes whales and

dolphins from her boat in the area near and around Nantucket. She has concrete plans for future

observances of whales and dolphins in this area near and adjacent to Nantucket. Thus, she is a

person for whom the aesthetic and recreational values of the area is and will be lessened due to

BOEM’s approval of New England Wind, and particularly, by New England Wind’s pile

driving/construction and later operations, which will negatively impact and impair Plaintiff



                                                  6
          Case 1:25-cv-01678         Document 1       Filed 05/27/25      Page 8 of 47




Bonnet’s ability to personally observe the whales and dolphins. Additionally, she customarily

frequents the beaches along Nantucket’s shores. Her views of the ocean and marine life will be

marred further by the New England Wind Project, as the Project’s wind turbines will be clearly

visible from the Nantucket shoreline, negatively impacting the pristine natural setting of thousands

of acres of preserved shorelines and unobstructed views of the horizon. Ms. Bonnet has been

visiting Nantucket for over 20 years and has owned a home on Nantucket for 8 years now. Ms.

Bonnet is also deeply invested in the historical heritage of Nantucket, which the New England

Wind project will invariably damage. A favorable Court decision will redress the harm caused by

New England Wind. As a direct result of the federal agencies’ approvals of New England Wind,

Plaintiff Bonnet will suffer harm under the ESA, MMPA, and OCLSA (and her harms fall squarely

within the zone of interests of those statutes), traceable to the agencies’ sanctioned activities of

New England Wind, and redressable by this Court.

               Plaintiffs STEVEN KOHLER AND SHARYL KOHLER are both residents on the

southern shore of Nantucket, Massachusetts. They have a beautiful view from their home on the

South Shore with visibility through the area within which New England Wind will be constructed.

They can already see Vineyard Wind 1 both day and night. Plaintiffs have inhabited their home on

Nantucket for over 25 years and visit the beach, almost daily. They regularly look for and observe

whales from in front of their house and enjoy the pristine view. They have seen several dead whales

on their beach over the past three years. As such, given Plaintiffs enjoyment and observations of

whales in the waters affected by New England Wind render them persons for whom the aesthetic

and recreational values of the area is and will be lessened due to BOEM’s approval of New

England Wind, and particularly, by New England Wind’s pile driving/construction and later

operations, which will negatively impact and impair Plaintiffs’ ability to personally observe the



                                                 7
          Case 1:25-cv-01678         Document 1       Filed 05/27/25      Page 9 of 47




whales. Plaintiffs also have concrete plans to observe whales in the future from their beach. A

favorable Court decision will redress this harm caused by New England Wind. As such, this harm

confers standing for the ESA, MMPA, and OCSLA, and NHPA (as their residence is in Historic

Nantucket within the Area of Potential of Effects of New England Wind, and will experience

adverse visual impacts in addition to a concomitant decrease in cultural and historic value of their

property). As a direct result of the federal agencies’ approvals of New England Wind, Plaintiffs

STEVEN KOHLER AND SHARYL KOHLER will suffer harm under the ESA, MMPA, NHPA,

and OCLSA (and their harms fall squarely within the zone of interests of those statutes), traceable

to the agencies’ sanctioned activities of New England Wind, and redressable by this Court.

               Plaintiff DOUGLAS LINDLEY also resides on Nantucket. He is a pilot and

classified as a “fish spotter.” He spots for fishermen and whale watchers. As such, Plaintiff

LINDLEY regularly observes fish and whales from the air, over the region within which New

England Wind will be located. As such, given Plaintiff’s enjoyment and observations of whales in

the waters affected by New England Wind, he is a person for whom the aesthetic and recreational

values of the area is and will be lessened due to BOEM’s approval of New England Wind, and

particularly, by New England Wind’s pile driving/construction and later operations, which will

negatively impact and impair his ability to personally observe the whales. Plaintiff LINDLEY also

has concrete plans to observe whales and fish in the future from the air. A favorable Court decision

will redress this harm caused by New England Wind. As such, this harm confers standing for the

ESA, MMPA, and OCSLA. As a direct result of the federal agencies’ approvals of New England

Wind, Plaintiff DOUGLAS LINDLEY will suffer harm under the ESA, MMPA, and OCLSA (and

his harms fall squarely within the zone of interests of those statutes), traceable to the agencies’

sanctioned activities of New England Wind, and redressable by this Court.



                                                 8
          Case 1:25-cv-01678        Document 1        Filed 05/27/25     Page 10 of 47




               Plaintiff DANNY PRONK resides on Nantucket, and is a lobsterman by trade. He

has been lobstering in the area around Nantucket for 40 years, and is being pushed out of the

grounds within which he has lobstered due to the construction of turbines. The noise from all

aspects of turbine preparatory work through operation have caused the animals to move, and the

wind projects are impelling him and other lobstermen into areas that are scheduled to also be

converted into offshore wind power plants. As such, Plaintiff PRONK is and will continue to be

economically harmed by way of New England Wind. A favorable Court decision will redress this

harm caused by New England Wind. As such, this harm confers standing for OCSLA, principally

through Plaintiff PRONK’s economic harm. The physical obstruction of the agency sanctioned

New England Wind project will destructively interfere and impair Plaintiff PRONK’s ability to

adequately obtain lobster. As a direct result of the federal agencies’ approvals of New England

Wind, Plaintiff PRONK will suffer harm under the OCLSA (and his harms fall squarely within the

zone of interests of that statutes), traceable to the agencies’ sanctioned activities of New England

Wind, and redressable by this Court.

               Plaintiff WILLIAM VANDERHOOP is the owner of the business Tomahawk

Charters. For 38 years, he has run his charter fishing and whale watching business in the area

where Vineyard Wind 1 currently is located and New England Wind will be constructed. Prior to

owning his business, he was a swordfish fisherman for 20 years. He is also a member of the

Wampanoag Tribe of Gay Head Aquinnah. His business has already been harmed by Vineyard

Wind 1 and the pre-construction surveying (inter alia) activities of New England Wind, which are

substantially decreasing the available fish in the area. Plaintiff VANDERHOOP has not seen

anything like it (the decreased fish population) in his time there. Accordingly, he is and will

continue to be economically harmed by New England Wind, conferring standing under OCSLA.



                                                 9
            Case 1:25-cv-01678         Document 1           Filed 05/27/25   Page 11 of 47




His use of the area and the fact that he relies upon this critical area for the economic success of his

business renders him an archetypal OCSLA plaintiff. As a direct result of the federal agencies’

approvals of New England Wind, Plaintiff VANDERHOOP will suffer harm under the OCLSA

(and his harms fall squarely within the zone of interests of that statutes), traceable to the agencies’

sanctioned activities of New England Wind, and redressable by this Court.

                 Plaintiff GREEN OCEANS, is a Rhode Island-based nonpartisan non-profit,

federally recognized 501(c)(3) corporation (https://green-oceans.org/) comprising citizens

dedicated to combating climate change but not at the expense of the ocean’s biodiversity and

health. The president is Elizabeth Knight, MD PHD. Green Oceans’ mission: “We strive to protect

the ocean against industrialization. A healthy ocean is one of our best defenses against climate

change. By protecting the ocean and marine biodiversity, we can help safeguard the planet for

future generations.”1 The organization includes artists, scientists, doctors, educators, local business

leaders, ex-military personnel, and homeowners who exhibit a strong personal connection to the

ocean. Green Oceans seeks to obviate irretrievable damage to the oceanic ecosystem and coastal

communities. Green Oceans engages in public education efforts about risks to the ocean and

advocates for heightened transparency from the government and developers about both the

indeterminate risks and unproven benefits of industrializing the ocean. Green Oceans submitted

comments to NOAA and BOEM on the Draft Strategy for the North Atlantic Right Whale and to

NOAA on the Incidental Take Authorization/Letter of Authorization for New England Wind

(germane here for administrative remedy exhaustion under the Marine Mammal Protection Act

cause of action for all other Plaintiffs in this action).

                 Plaintiff RHODE ISLAND PARTY AND CHARTER BOAT ASSOCIATION is



1
    Green Oceans, Our Story, https://www.green-oceans.org/our-story (last visited May 23, 2025).
                                                   10
          Case 1:25-cv-01678        Document 1       Filed 05/27/25      Page 12 of 47




a registered not for profit organization in the State of Rhode Island. Their mission is to promote

the charter fishing industry and advocate for sustainable fishing practices that provide value for

our clients. As an affected stakeholder, they have engaged in the permitting process for several

projects over several years, including South Fork, Revolution, Vineyard, and Sunrise Wind.

Captain Richard Bellavance is the president of Rhode Island Party And Charter Boat Association.

His business will incur economic harm as a result of New England Wind. Fisheries that are

impacted in the NE Wind area are predominately offshore fisheries such as Tuna and Shark. The

organization has concerns that the habitat of a primary forage fish called Sand Lance could be

altered, which would drive their game fish farther away and possibly out of range, eliminating

those fisheries in their portfolio. They have concerns about cumulative impacts of all the projects

during many years of back-to-back construction and operation that will last for many generations

of some important species like squid. Further concerns include displaced efforts in the New

England Wind area to areas closer to them, creating more demand on more local aggregations of

some fish. The construction and operation activities are also proximate to spawning and larval

distributions of valuable species like Atlantic Cod, which are in rebuilding stages and do not need

further disruptions. As fishermen, they have been asked to stop fishing for these fish to aid in

rebuilding the population, yet offshore wind and its recognized impacts to spawning go on without

change. Projects that include massive cooling designs that will pull several million gallons of sea

water each day through distribution plants in some farms, then discard it as super-heated water

back into the environment also concern them. They feel larval staged animals like cod and lobster

will be inhaled and destroyed. Sand lance spend time on or near the surface and will be impacted

by these activities as well. As such, Captain Richard and his organization will suffer economic

harm, traceable to New England Wind, and redressable by this Court. The sanctioned offshore



                                                11
          Case 1:25-cv-01678         Document 1       Filed 05/27/25      Page 13 of 47




wind activities of New England Wind will disturb the aforesaid ecosystems on which they derive

income. As a direct result of the federal agencies’ approvals of New England Wind,

Plaintiff RHODE ISLAND PARTY AND CHARTER BOAT ASSOCIATION will suffer harm

under the OCLSA (and their harms fall squarely within the zone of interests of that statutes),

traceable to the agencies’ sanctioned activities of New England Wind, and redressable by this

Court.

               Plaintiff CAPE COD CHARTER BOAT ASSOCIATION is a distinguished

organization that actively commits to advancing safety, sustainability, and recreation in the world

of charter boat operations and sport fishing. At CCCBA, their mission is clear – to promote and

encourage safety in the use and operation of boats, foster sportfishing in the waters surrounding or

near Cape Cod, and support the business of carrying passengers for hire, specifically for

sportfishing. They work tirelessly to ensure fair and equitable legislation, collaborating with like-

minded organizations to champion the interests of our members. William Hatch is the president of

the organization.

               Plaintiff CONNECTICUT CHARTER AND PARTY BOAT ASSOCIATION is

an organization that provides a safe, relaxing and memorable day on the water for its clients. Capt.

Marc Berger is the President of the Connecticut Charter and Party Boat Association. His business,

relies upon the recreational, aesthetic experience of the customers.

               Plaintiff MONTAUK BOATMEN AND CAPTAINS ASSOCIATION was

originally established in 1965 by a group of local captains for the purpose of ensuring their voices

were heard by lobbying politicians at the state and federal levels. Their mission was to preserve

the tradition of the sportfishing culture in Montauk and ensure long-term and equal access to our

local fisheries. Today, the MBCA is more than 80 members strong, and includes party and charter



                                                 12
          Case 1:25-cv-01678         Document 1       Filed 05/27/25      Page 14 of 47




boat captains, commercial fishermen, recreational anglers, marinas, and other supporting

organizations interested in helping us. Their mission remains to protect our fisheries by promoting

sustainable fishing practices, helping ensure fair regulations, and preserving Montauk’s rich

maritime heritage. They are committed to sustaining our strong fishing community by providing

resources, education and advocacy to support the livelihood of those who depend on our waters.

Through collaboration and proactive engagement, they strive to safeguard the future of Montauk’s

fishing industry for generations to come.

               Plaintiff WAMPANOAG TRIBE OF GAY HEAD is a federally recognized Indian

Tribe, with its headquarters located at Aquinnah, MA on the island of Martha’s Vineyard. The

Chairwoman of the Aquinnah Wampanoag Tribe is Cheryl Andrews-Maltais. The Wampanoag

Tribe of Gay Head (Aquinnah) (Aquinnah Tribe) are part of the Great Wampanoag Nation and are

known as The People of the First Light. The aboriginal Wampanoag Territory homelands spans

from north of current day Boston, Massachusetts, westward and south to Mount Hope Bay in

eastern Rhode Island, and then eastward to include southeastern Massachusetts, Cape Cod, the

Elizabeth Islands, Noepe (aka Martha’s Vineyard) and Nantucket, as well as the now submerged

lands all the way out to the outer -continental shelf break. As the original stewards of this region;

the Tribe has inhabited the lands and utilized the waters and their resources since time immemorial.

They lived upon the land, practiced their traditions and culture, held ceremony and interred their

People on the land that is currently dry, and the lands that are currently submerged. Within this

area are an untold number of submerged archeological resources including the likelihood of

ancient burials. Additionally, the unobstructed and majestic views from the south side of the island

from Chappaquiddick to Aquinnah and the Aquinnah (Gay Head) Cliffs, which overlook the

waters where the project is being constructed, are areas of unparallel cultural significance to the



                                                 13
          Case 1:25-cv-01678          Document 1         Filed 05/27/25       Page 15 of 47




Aquinnah Wampanoag Tribe. The unobstructed eastern view is inextricably intwined with who

they are as a People and their cosmology, essential to their spiritual beliefs and practices. And, the

Sacred Aquinnah Cliffs is the only location on the island where you can view both the sunrise and

sunset. In 2010, the Department of the Interior National Park Service’s Keeper of the National

Register designated all of Nantucket Sound and an undefined boundary as a Traditional Cultural

Property, eligible for listing on the National Register of Historic Places under all four (4) Criteria.

The Aquinnah (Gay Head) Cliffs are sacred to the Tribe and are also inextricably intwined with

the history traditions and cosmology of their People. The Aquinnah (Gay Head) Cliffs have been

listed on the National Park Service National Register of Historic Places as a Natural National

Landmark since 1966. Further, the North Atlantic Right Whale plays a critical role in the Tribe’s

cosmology. Specifically, in the Aquinnah Wampanoag Tribe oral history regarding the creation of

Noepe, the North Atlantic Right Whale fed Moshup and the Wampanoag people on the Island. In

fact, according to Wampanoag history, the unique colors of the Cliffs is a direct result of Moshup’s

use of the whale as his favorite food source. The North Atlantic Right Whale is prominently

depicted in the Tribe’s logo, demonstrating its continued significance to the Tribe to this day. This

is a region that is thus replete with cultural and historical tradition to this day. The potential adverse

effects of New England Wind on the unobstructed, ethereal views of the ocean, the Traditional

Cultural Places, their beliefs, and natural and cultural resources, will be substantial. The Tribe was

identified as a consulting party by BOEM2 but the adverse visual effects of the Project will result

in an irretrievable, irrecoverable aesthetic, cultural, and historical diminution of value for the Tribe.




2
 Bureau of Ocean Energy Management, New England Wind Project Final Environmental
Impact Statement Appendix A (Mar. 1, 2024),
https://www.boem.gov/sites/default/files/documents/renewable-energy/state-
activities/New_England_Wind_App_A_EnviroPermits_Consult.pdf.
                                                   14
         Case 1:25-cv-01678         Document 1       Filed 05/27/25     Page 16 of 47




Accordingly, Plaintiff AQUINNAH WAMPANOAG TRIBE will suffer harm as a result of the

Project, attributable to New England Wind’s actions, and redressable by this Court. The New

England Wind project will cause substantial adverse effects on the Tribe’s cultural landscape,

including irretrievable harm to sacred viewsheds, disruption of marine areas containing submerged

cultural resources, and aesthetic degradation of Traditional Cultural Properties. As a result, the

Aquinnah Wampanoag Tribe will suffer concrete harm traceable to the federal agencies’ approval

of New England Wind and are redressable by this Court. The Tribe’s interests fall squarely within

the zone of interests protected by the NHPA and this harm is sufficient to confer standing.

               Defendant National Marine Fisheries Service is an agency of the federal

government, within the United States Department of Commerce’s National Oceanic and

Atmospheric Administration. “NOAA Fisheries, also known as the National Marine Fisheries

Service, is responsible for the management, conservation, and protection of living marine

resources within about 200 miles of the U.S. coast.”3

               Defendant EUGENIO PIÑEIRO SOLER is the director of the NMFS.4

               Defendant HOWARD LUTNICK is the Secretary of the United States Department

of Commerce.

               Defendant BOEM is a federal agency within the U.S. Department of Interior, tasked

with managing the “development of U.S. Outer Continental Shelf (OCS) energy, mineral, and




3
  NOAA Fisheries, USA.GOV, https://www.usa.gov/agencies/noaa-
fisheries#:~:text=NOAA%20Fisheries%2C%20also%20known%20as,miles%20of%20the%20U.
S.%20coast (last visited May 23, 2025).
4
  NOAA Fisheries, Eugenio Piñeiro Soler Appointed to Lead NOAA Fisheries (Apr. 14, 2025),
https://www.fisheries.noaa.gov/feature-story/eugenio-pineiro-soler-appointed-lead-noaa-
fisheries.
                                               15
          Case 1:25-cv-01678        Document 1        Filed 05/27/25      Page 17 of 47




geological resources in an environmentally and economically responsible way.”5

               Defendant U.S. Department of Interior is an executive department of the U.S.

federal government responsible for the management and conservation of most federal lands and

natural resources.

               Defendant DOUG BURGUM is the Secretary of the Department of Interior.

               Defendant WALTER CRUICKSHANK is the Director of BOEM.

                                 FIRST CAUSE OF ACTION
                      [Violations Of The Marine Mammal Protection Act
                            and the Administrative Procedures Act]

               Plaintiffs reallege and incorporate by reference all of their previous allegations and

further allege as follows:

               This cause of action challenges significant legal deficiencies, in the BiOp and

Incidental Take Authorization.

               Pursuant to 16 U.S.C. 1373(a), the MMPA stipulates that, “the Secretary, on the

basis of the best scientific evidence available and in consultation with the Marine Mammal

Commission, shall prescribe such regulations with respect to the taking and importing of animals

from each species of marine mammal . . . .” The best scientific evidence available was not utilized

in the agencies’ analysis in the BiOp, Incidental Take Statement or MMPA.

               The primary purpose of the MMPA was to “establish a national policy to prevent

marine mammal species and population stocks from declining beyond the point where they ceased

to be significant functioning elements of the ecosystems of which they are a part.”6



5
  Bureau of Ocean Energy Management, About BOEM, https://www.boem.gov/about-boem (last
visited May 23, 2025).
6
  NOAA Fisheries, Marine Mammal Protection Act Policies, Guidance, and Regulations,
https://www.fisheries.noaa.gov/national/marine-mammal-protection/marine-mammal-protection-
act-policies-guidance-and-regulations (last visited May 23, 2025).
                                                16
          Case 1:25-cv-01678         Document 1        Filed 05/27/25      Page 18 of 47




               The MMPA at 16 U.S.C. 1371(a) provides, “There shall be a moratorium on the

taking and importation of marine mammals and marine mammal products, commencing on the

effective date of this chapter, during which time no permit may be issued for the taking of any

marine mammal and no marine mammal or marine mammal product may be imported into the

United States except in the following cases . . .”

               The MMPA permits an exception to this general proscription, “upon request

therefor by citizens of the United States who engage in a specified activity (other than commercial

fishing) within a specified geographical region, the Secretary shall allow, during periods of not

more than five consecutive years each, the incidental, but not intentional, taking by citizens while

engaging in that activity within that region of small numbers of marine mammals of a species or

population if the Secretary finds that the total of such taking during each five-year (or less) period

concerned will have a negligible impact on such species or stock.” 16 U.S.C. 1371(a)(5)(A).

               As such, even within the exception, the MMPA countenances only the taking of

‘small numbers’ of marine mammals. “Take” within the meaning of the MMPA can mean Level

A or Level B takes.

               Level A harassment is defined as, “has the potential to injure a marine mammal or

marine mammal stock in the wild.” 16 U.S.C. § 1362(18)(A)(i), 50 CFR 216.3.

               Level B harassment is defined as, “has the potential to disturb a marine mammal or

marine mammal stock in the wild by causing disruption of behavioral patterns, including, but not

limited to, migration, breathing, nursing, breeding, feeding, or sheltering.” 16 U.S.C. §

1362(18)(A)(ii), 50 CFR 216.3.

               The MMPA language does not address potential outcomes of harm and fatality

resulting indirectly from animal disturbance as the ESA does (see supra). Additionally, as stated



                                                 17
          Case 1:25-cv-01678        Document 1        Filed 05/27/25     Page 19 of 47




in NRDC, Inc. v. Pritzker, 828 F.3d 1125, Level A harassment involves activities that directly

injure or are likely to injure marine mammals. By contrast, Level B harassment involves activities

that interfere with normal behavioral patterns of the marine mammals, with the risk of indirect

harm that creates. To satisfy the requirements of both Acts, and for both Acts to be consistent, the

Level B take analyses supporting the BiOp, the LOA’s and the final EIS should have included a

detailed assessment of the potential for animal harm and fatality resulting indirectly from level B

disturbances.

                New England Wind 1 and 27 authorizes Level B takes for the North Atlantic Right

Whale of 60 (annually) and 126 for the total 5-year period. That constitutes 17.8% of the NARW

stock annually8 and 37.3% of the stock over the 5-year period. This violates the MMPA small

numbers and negligible impact provisions.

                For the Humpback whale, the LOA authorizes the annual take of 152 whales (18

Level A and 134 Level B), and a 5-year total take of 301 whales (31 Level A and 270 Level B).

The annual take of 152 constitutes 10.9% of the Humpback population and 5-year take constitutes

21.6% of the population. This violates the MMPA small numbers and negligible impact provisions.

                For the common dolphin, the LOA authorizes the annual take of 26,573 dolphin (1

Level A and 26,572 Level B), and a 5-year total take of 46,761 (2 Level A and 46,759 Level B).

The annual take of 26,573 constitutes 28.5% of the common dolphin population and 5-year take


7
  National Marine Fisheries Service, Letter of Authorization for the New England Wind Project
(July 22, 2024), https://www.fisheries.noaa.gov/s3/2024-07/MAAvangrid-2024LOA-LOA-
OPR1.pdf.
8
  NOAA Fisheries, North Atlantic Right Whale (May 2023),
https://www.fisheries.noaa.gov/s3/2023-08/North-Atlantic-Right-Whale-Western-Atlantic-
2022.pdf (The North Atlantic Right Whale population is estimated at “338 individuals.”).



                                                18
          Case 1:25-cv-01678         Document 1         Filed 05/27/25   Page 20 of 47




constitutes 50.2% of the population.9 This egregiously violates the MMPA small numbers and

negligible impact provisions.

               For the Gray Seal, the LOA authorizes the annual take of 1,546 gray seals (9 Level

A and 1,537 Level B), and a 5-year total take of 3,305 (15 Level A and 3,290 Level B). The 5-year

take constitutes 12.1% of the population. This violates the MMPA small numbers and negligible

impact provisions.

               Jurisprudence has elucidated that “small numbers” cannot possibly constitute a

proportion greater than 10.6% and certainly not as much as 12%.

               The NFMS is not entitled to deference regarding their small numbers interpretation,

in view of the overturning of Chevron. As such, the Court must employ an independent assessment,

which objectively, should yield a small numbers interpretation as described herein.

               There is no cogent evidence that the marine site characterization surveys, pile

driving, or operational turbine noise will have a “negligible impact” on marine mammals pursuant

to the stipulation of the MMPA. In view of the observed marine mammal mortalities derived from

the marine site characterization surveys, underestimated impacts from same, underestimated

impacts from pile driving, operational noise, and the reality of likely obstruction to the NARWs’

migration corridor via operational noise, inter alia.

               The best scientific evidence available was thus not utilized in the LOA’s

determination of requested takes, or its conclusion that such takes would have a negligible impact

on marine mammals.

               Under the MMPA, a taking has a “negligible impact” if it “cannot be reasonably



9
  Takes of Marine Mammals Incidental to Specified Activities; Taking Marine Mammals
Incidental to the New England Wind Project, Offshore Massachusetts, 89 Fed. Reg. 52222.
                                                 19
          Case 1:25-cv-01678         Document 1       Filed 05/27/25      Page 21 of 47




expected to, and is not reasonably likely to, adversely affect the species or stock through effects

on annual rates of recruitment or survival.” 50 C.F.R. § 216.103. The NMFS is not entitled to

deference on their interpretation of negligible impact, in view of Chevron’s eradication, and an

independent assessment of the meaning yields a clear violation of this standard here.

               Furthermore, the best scientific evidence available was not employed in actually

determining the requested takes of marine mammals, as such calculation significantly

underestimates the magnitude of takes – both Level B and Level A.

               As explicated supra, the agencies underestimate the injurious effects of marine site

characterization surveys, pile driving, and operational noise on marine mammals. They fail to

employ the best science available on all of these issues in developing their take estimates. The

agencies fail to conduct a cumulative analysis of marine site characterization surveys, pile driving,

and operational noise on the takes of marine mammals. As a result, Level B and Level A takes are

significantly underestimated and render the agencies determinations arbitrary and capricious.

               The above MMPA allegations have been broached to the agency in the

administrative record. For example, see public comment from Green Oceans submitted and

received on July 10, 2023.10 The public comment raises the issue of unjustified number of takes,

including the North Atlantic Right Whale, common dolphins, etc., and thus, the agency was on

notice of this issue prior to this legal action (as evidenced by the public comment in the

administrative record of New England Wind cited in the footnote).

               Further despite the Aquinnah Wampanoag Tribe’s unique relationship with the

North Atlantic Right Whale, the Tribe was not consulted as required by Executive Order 13175,



10
   NOAA Fisheries, Comment from Green Oceans on Proposed Incidental Take Regulations for
the New England Wind Project, NOAA-NMFS-2023-0080-0045 (July 11, 2023),
https://www.regulations.gov/comment/NOAA-NMFS-2023-0080-0045.
                                                 20
          Case 1:25-cv-01678         Document 1        Filed 05/27/25      Page 22 of 47




Consultation and Coordination with Indian Tribal Governments.

                 As such, the determinations of NMFS with its MMPA final rule, BiOp and ITS

violate the MMPA and APA for the aforesaid reasons. And as such, Plaintiffs ACK FOR

WHALES, VALLORIE OLIVER, VERONICA BONNET, AMY DISIBIO, DOUGLAS

LINDLEY, and STEVEN AND SHARYL KOHLER, have been harmed through violation of

MMPA.

                             SECOND CAUSE OF ACTION
     [Violations Of The Endangered Species Act and the Administrative Procedures Act]

                 Plaintiffs reallege and incorporate by reference all of their previous allegations

(and all contents of their Notice of Intents to Sue under the ESA, submitted January 13, 2025), and

further allege as follows:

                The ESA’s guiding purpose is “to provide a means whereby the ecosystems upon

which endangered species and threatened species depend may be conserved, to provide a program

for the conservation of such endangered species and threatened species . . .” 16 U.S.C. § 1531(b).

                It is further stipulated under the ESA that “federal departments and agencies shall

seek to conserve endangered species and threatened species and shall utilize their authorities in

furtherance of the purposes of this Act.” 16 U.S.C. § 1531(c)(1).

                It is ostensible that Congress’s intent in passing the ESA is to “halt and reverse the

trend toward species extinction -- whatever the cost.” Tennessee Valley Authority v. Hill, 437 U.S.

153, 184 (1978). “This is reflected not only in the stated policies of the Act, but in literally every

section of the statute.” Id.11



11
  “One would be hard pressed to find a statutory provision whose terms were any plainer than
those in § 7 of the Endangered Species Act. Its very words affirmatively command all federal
agencies ‘to ensure that actions authorized, funded, or carried out by them do not jeopardize the
continued existence’ of an endangered species or ‘result in the destruction or modification of
                                                 21
           Case 1:25-cv-01678        Document 1       Filed 05/27/25     Page 23 of 47




               Agency determinations under the ESA are reviewed pursuant to the APA, which

requires that an agency action be “upheld unless it is found to be ‘arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.’” Id. at 1247 (citing Pac. Coast Fed’n of

Fishermen’s Ass’ns, Inc. v. Nat’l Marine Fisheries Serv., 265 F.3d 1028, 1034 (9th Cir. 2001).

However, as enunciated in Conservation Cong. v. United States Forest Serv., 720 F.3d 1048 (9th

Cir. 2013), an agency action is arbitrary and capricious if it, “relied on factors Congress did not

intend it to consider, entirely failed to consider an important aspect of the problem, or offered an

explanation that runs counter to the evidence before the agency or is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise (emphasis added).” Id.

at 1054.

               Section 7(a)(2) (16 U.S.C. § 1536(a)(2)) of the ESA provides that the “Federal

agency shall, in consultation with and with the assistance of the Secretary, ensure that any action

authorized, funded, or carried out by such agency . . . is not likely to jeopardize the continued

existence of any endangered species or threatened species or result in the destruction or adverse

modification of habitat of such species . . .”

               Pursuant to the ESA’s stipulations in 16 U.S.C. § 1536(a)(2), agencies must utilize

the “best scientific and commercial data available” in determining that an agency action will not

jeopardize the continued existence of any endangered species or threatened species. This “best

data available” stipulation obviates an agency from “disregarding available scientific evidence that

is in some way better than the evidence [it] relies on.” Kern Cty. Farm Bureau v. Allen, 450 F.3d

1072, 1080 (9th Cir. 2006).




habitat of such species . . . .’ 16 U.S.C. § 1536. This language admits of no exception.” Tennessee
Valley Auth. v. Hill, 437 U.S. 153, 173 (1978) (quoting 16 U.S.C. § 1536 (1976)).
                                                 22
          Case 1:25-cv-01678         Document 1        Filed 05/27/25      Page 24 of 47




               The agency must “not ignore available biological information.” Id. at 1080-81

(quoting Conner v. Burford, 848 F.2d 1441, 1454 (9th Cir. 1988); accord San Luis & Delta-

Mendota Water Authority v. Badgley, 136 F. Supp. 2d 1136, 2000 WL 33174414, 10-11 (E.D. Cal.

2000); Pacific Coast Federation of Fishermen’s Ass’n v. National Marine Fisheries Service, 71 F.

Supp. 2d 1063, 1073 (W.D. Wash. 1999).

               If those challenging the agencies can identify relevant data not considered, then the

presumption that agencies have employed the best available is repudiated. Kandra v. United States,

145 F. Supp. 2d 1192, 1208 (D. Or. 2001) (citing Friends of Endangered Species v. Jantzen, 760

F.2d 976, 985 (9th Cir. 1985). Moreover, a BiOp is arbitrary and capricious in contravention of

the ESA if it “fails to consider the relevant factors and articulate a rational connection between the

facts found and the choice made.” Ctr. for Biological Diversity v. United States BLM, 698 F.3d

1101, 1121 (9th Cir. 2012) (citing Pac. Coast Fed’n of Fishermen’s Ass’ns, 265 F.3d at 1034 (9th

Cir. 2001) (quoting Natural Res. Def. Council v. U.S. Dep’t of the Interior, 113 F.3d 1121, 1124

(9th Cir. 1997))).

               The ESA says that take is defined as “to harass, harm, pursue, hunt, shoot, wound,

kill, trap, capture or collect, or to attempt to engage in any such conduct,” with harm defined by

regulation (50 C.F.R. §222.102) as “an act which actually kills or injures fish or wildlife. Such an

act may include significant habitat modification or degradation which actually kills or injures fish

or wildlife by significantly impairing essential behavioral patterns, including, breeding, spawning,

rearing, migrating, feeding, or sheltering.” See also, 50 CFR 17.3.

               The NMFS’ determination that the New England Wind 1 and 2 Project does not

jeopardize the North Atlantic right whale is not based on the best available science and is arbitrary,

capricious, and otherwise contrary to law.



                                                 23
         Case 1:25-cv-01678        Document 1       Filed 05/27/25     Page 25 of 47




              NMFS’ determination that the project would not induce any Level A takes

(harm/injury) of NARW is arbitrary, capricious, and otherwise contrary to law.

              Both BOEM and NMFS failed to ensure that New England Wind would not

jeopardize the survival of federally-listed species, such as the NARW, and failing to avoid

jeopardizing the continued existence of the NARW.

              The BiOp NMFS prepared for the New England Wind 1 and 2 project is analytically

deficient and not supported by the best available scientific data. By approving the New England

Wind 1 and 2 project, BOEM violated the procedural and substantive requirements of the ESA.

By issuing a defective BiOp, NMFS violated the procedural and substantive requirements of the

ESA. And by relying upon the defective BiOp, BOEM violated the ESA. “Arbitrarily and

capriciously relying on a faulty Biological Opinion violates this duty.” Defenders of Wildlife v.

United States EPA, 420 F.3d 946, 976 (9th Cir. 2005).

              The BiOp entirely ignores and fails to analyze the statistically anomalous increase

in whale strandings in the NJ/NY Bight from late 2022-through 2023. Such strandings initiated in

earnest in 2016-17 in the offshore waters of New England coterminous with the construction of

Block Island Wind Project surveying (5 strandings of North Atlantic Right Whale around Martha’s

Vineyard from August 2017-18). Indeed, offshore wind surveying activity increased in earnest

during the 2015-17 period, coterminous with the uptick in marine mammal mortalities.

              The BiOp fails to analyze an important, and perhaps the most important, aspect of

the underwater noise problem. It does not include a cumulative wind project assessment from the

NJ/NY Bight area to New England’s offshore waters of the significantly increased operational

turbine noise impacts from these large gearbox turbines, which will likely block the migration of

the NARW, as well as fin and humpback whales that frequent the lease area. The BiOp also fails



                                               24
          Case 1:25-cv-01678         Document 1        Filed 05/27/25     Page 26 of 47




to analyze the cumulative impact/effect of HRG surveys and pile driving on NARW and other

marine mammals as a result of all of the proposed/active offshore wind projects (in various stages

of permitting) from Virginia to New England.

               The agencies’ failure (particularly NMFS) to cumulatively assess the effect of takes

at all other project sites that were in the approval process at the time of reviewing New England

Wind’s application is arbitrary and capricious.

               The BiOp does not include a numerical Level A assessment of the serious harm and

fatality that can occur to the whale from Level B disturbances of its behavior, which are expected

to significantly impair its navigation and communication capabilities.

               ACK FOR WHALES contends all aspects of the BiOp’s putative mitigation

protocols exhibit deficiencies, including vessel speed itself, vessel speed restrictions, exemptions,

soft-starts, protected species observers, passive acoustic monitoring, and seasonality restrictions.

               In 77 FR 50290, cited by NRDC v. Pritzker, 62 F. Supp. 3d 969 (N.D. Cal. 2014),

the cited efficacies for passive acoustic monitoring (“PAM”) and protected species observers

(“PSO”) are 25% and 9% respectively.

               As to PAM, in Native Village of Chickaloon v. Nat’l Marine Fisheries Serv., 947

F. Supp. 2d 1031 (D. Alaska 2013), the Court discussed defendant Apache Alaska Corporation’s

acknowledgement regarding the material limitations of acoustic monitoring: “Apache’s

application acoustic monitoring has limitations for detecting marine mammals because ‘it requires

that the animals produce sounds . . . [and] it requires those sounds to be of sufficient amplitude to

be detected at the monitoring location.’ The ‘received levels of the biological sounds [also must]

exceed background noise and other measurement noise. . .’” Id. at 1043-44.

               PSOs are riddled with numerous limitations, including observer independence,



                                                  25
          Case 1:25-cv-01678          Document 1         Filed 05/27/25       Page 27 of 47




bias, elevation of observation platform, weather conditions and visibility, opacity of the water,

among other variables. These observers cannot effectively see beneath the surface of the water,

and in terms of distance, the absolute “best” case scenario is observability out to 1-1.5km. Note

that NARW spend significant time just below the surface.

                The BiOp attempts to discredit the work of Stober and Thompson in predicting

noise levels for the larger turbines by stating that the authors did not do any in field measurements

to validate their predictions (Yet, inconsistently, the BiOp readily accepts modelling data in

various other contexts such as right whale distribution/density and acoustic modelling/pile driving

noise), but fails to point out that such measurements are impossible to do because none of the

larger turbines are installed yet. It points to the uncertainty in the predictions which of course exist,

but those uncertainties are not sufficient to discredit the reliability of using their data to predict the

source level of larger turbines.

                Therefore, the BiOp incorrectly determined that Stober and Thomsen (2021)12 is

not considered the best available scientific information on underwater noise likely to result from

operation of 10 MW or larger turbines. The turbines here, for the Project, will exhibit capacities

up to 15 MW.13

                The BiOp incorrectly concludes that Elliot et al. 2019 represents the best available

data on operational noise that can be expected from the operation of The Project’s turbines. That

cannot be the case because that study dealt with 6-megawatt turbines, whose noise source intensity

levels are thousands of times less than the 15-megawatt turbines to be used here.



12
   Uwe Stober and Frank Thomsen, How could operational underwater sound from future
offshore wind turbines impact marine life?, J Acoust Soc Am. (Mar. 2021), doi:
10.1121/10.0003760. PMID: 33765823.
13
   NMFS, New England Wind Offshore Energy Project Biological Opinion (Feb. 16, 2024) at
197, https://repository.library.noaa.gov/view/noaa/60610.
                                                   26
          Case 1:25-cv-01678          Document 1        Filed 05/27/25     Page 28 of 47




                  The BiOp does not provide the number of estimated vessel miles traveled. It only

provides vessel trips, which does not disclose the length of those trips. The length of the trips more

accurately serves to assess the risk posed to whales and other marine mammals. As such, a

complete analysis on vessel strike risk to NARWs and other listed species cannot be conducted.

                  The BiOp’s proposed mitigation measures, including: “The proposed mitigation

measures include restrictions on pile driving, establishment of clearance zones for all activities,

shutdown measures, soft start of pile driving, ramp up of HRG sources, noise mitigation for impact

pile driving, and vessel strike avoidance measures” all exhibit varying degrees of insufficiency

and ineffectiveness. Taken together, they will not prevent the Project from jeopardizing the

NARW.

                  The BiOp fails to cite, analyze or otherwise use or consider (pursuant to ESA

regulations) the salient data related to the NARWs’ birth rates, death rates, and calving rates. It

fails to cite or discuss the 7.6-year calving rate.14 Further, detected NARW mortalities outnumber

births 3:2. Id.

                  Likewise, the BiOp contains no analysis of the fact that the population dynamics of

the NARW have altered significantly, and that the potential biological removal threshold for

NARW has dropped to 0.7.15 This implies that less than one NARW can be killed through

anthropogenic activities and still maintain / recover to its optimal sustainable population size.

                  The BiOp contains no analysis of the fact that approximately 48 NARW have died

in entanglements 2010-18, and that deaths recorded are only 36% of actual deaths, per a study




14
   Pettis, H. M., et al., North Atlantic Right Whale Consortium 2020 Annual Report Card (2021),
https://www.narwc.org/uploads/1/1/6/6/116623219/2020narwcreport_cardfinal.pdf
15
   Taking of Marine Mammals Incidental to Commercial Fishing Operations; Atlantic Large
Whale Take Reduction Plan Regulations, 88 Fed. Reg. 7362.
                                                  27
          Case 1:25-cv-01678         Document 1       Filed 05/27/25      Page 29 of 47




commissioned by the NMFS.16 The entanglement risk is higher than postulated by NMFS, and

there is little evidence for the conclusion, “We have concluded that capture or entanglement of a

right whale and any associated injury or mortality is not an expected outcome...” BiOp, p. 457.

Note that vertical buoy lines, which are utilized in the region within which the project is proposed,

can significantly enhance the risk of entanglements. These risks were insufficiently analyzed.

               Pile driving disruption to foraging behavior caused by the noise can lead to

increased time at surface. NARW are one of the species most frequently impacted by collisions,

and ship strikes are a leading cause of mortality in NARW. This increased time at surface could

increase their probability of being struck, especially since NARW do not appear to present evasive

behaviors in the presence of approaching ships / ship noise.

               The assumption of a bubble curtain attenuation of 10db is significantly

overestimated, especially for the low frequency and noise emitted by these larger turbines.

               Operational noise may have longer term impacts on the overall health of whales by

increasing their stress with the increased noise. Baleen whales have many behavioral responses to

impulsive noises well below the current 160 dB threshold. Wood et al., (2012) predict a 50%

probability of disturbance of migrating baleen whales at 140 dB. Avoidance behaviors due to the

noise may increase the risk of ship strike and/or increase energetic demand of NARW.

               The Project’s NARW take estimates for HRG surveys, pile driving, and every phase

of the project, are grossly underestimated.

               The BiOp fails to utilize the best available scientific evidence on operational noise,



16
  Richard M. Pace, et al., Cryptic Mortality of North Atlantic Right Whales, 3 Conservation Sci.
and Practice 1 (2021) at 6, https://repository.library.noaa.gov/view/noaa/31474 (“We used an
abundance estimation model to derive estimates of cryptic mortality for North Atlantic right
whales and found that observed carcasses accounted for only 36% of all estimated death during
1990–2017.”).
                                                 28
              Case 1:25-cv-01678       Document 1        Filed 05/27/25    Page 30 of 47




pile driving, entanglements, population baseline, recovery, and survival, and otherwise, all aspects

of this Project.

                   The BiOp provides, “[a]t least four PSOs must be actively observing marine

mammals before, during, and after installation of foundation piles (i.e., monopiles and pin piles).

At least two PSOs must be stationed and observing on the pile driving vessel and at least two PSOs

must be stationed on a secondary, PSO-dedicated vessel. Concurrently, at least one PAM operator

must be actively monitoring for marine mammals with PAM before, during, and after impact pile

driving.” Both the number of PSOs and PAM operators are significantly insufficient.

                   The BiOp does not adequately address the project’s construction and operational

impacts on NARW navigation, communication, migration, and behavior.

                   The BiOp does not adequately address the project’s impacts, at any phase, on the

behavior of NARWs and other marine mammals, and the resultant potential strandings, vessel

strikes, entanglements, or other injuries and deaths that can eventuate from the project’s noise or

activities.

                   The BiOp states, “North Atlantic right whales’ resilience to future perturbations

affecting health, reproduction, and survival is expected to be very low,” (page 69), but yet does

not analyze this fact in its jeopardy assessment.

                   The BiOp admits: “Large whales also do not have to be at the water’s surface to be

struck.” Page 306. Yet, the PSOs have little to no efficacy in detecting sub-surface whales.

                   The BiOp arbitrarily utilizes the proxy of Block Island Wind Farm (5 6MW wind

turbines) for the Project’s operational noise impacts.

                   The BiOp arbitrarily assumes that soft-starts will cause NARWs to leave the area

temporarily (and potentially into adjacent shipping lanes).



                                                    29
          Case 1:25-cv-01678        Document 1        Filed 05/27/25       Page 31 of 47




               The BiOp does not account for the potential of subsurface vessel strikes on marine

mammals or NARWs in the take or jeopardy analysis.

               The BiOp’s reasonable and prudent measures feature very little analysis on

prevention of vessel strikes.

               The BiOp does not discuss or cite the 7.6-year calving interval for the NARW.

               The BiOp does not discuss or cite the fact that NARW mortalities outnumber births

3:2.

               The BiOp fails to examine whether any phase of the project will increase water

turbidity, and such concomitant effect on the NARW. This is important particularly in view of the

NARW’s strong reliance on eyesight.

               The BiOp ephemerally references auditory masking in the context of vessel noise

and cable installation:

       “Marine mammals may experience masking due to vessel noises. For example, right
       whales were observed to shift the frequency content of their calls upward while reducing
       the rate of calling in areas of increased anthropogenic noise (Parks et al. 2007a) as well as
       increasing the amplitude (intensity) of their calls (Parks et al. 2011a; Parks et al. 2009).
       Right whales also had their communication space reduced by up to 84 percent in the
       presence of vessels (Clark et al. 2009a). Although humpback whales did not change the
       frequency or duration of their vocalizations in the presence of ship noise, their source levels
       were lower than expected, potentially indicating some signal masking (Dunlop 2016).” P
       247, BiOp.

               However, no analysis is provided on the implications of this 84% reduction in

NARW communication space in the presence of vessels. This is a significant datapoint that

warrants more much considered analysis. The auditory masking effect on the NARW could lead

to a variety of negative consequences, potentially even leading to loss of navigational capacity,

orientation, or injury and death via other, secondary causes.

               The BiOp does not actually “use” or “consider” much of the data it presents,



                                                 30
          Case 1:25-cv-01678        Document 1        Filed 05/27/25     Page 32 of 47




pursuant to the ESA regulations (use best available data). The dictionary definition of “use” and

“consider” is to avail oneself of, and think about carefully. The BiOp, on numerous occasions, fails

to sedulously examine the datapoints and discuss them in a synergistic manner.

               The BiOp does not analyze the cumulative, synergistic effects of vessel noise and

pile driving noise, especially in view of the fact that vessels will often be traversing the area

contemporaneous with pile driving activities.

               The BiOp fails to analyze or discuss the noise interference that can occur with PAM

– background, measurement, anthropogenic, or otherwise. There are a variety of disparate sources

of noise that can contaminate a whale’s vocalization signal, and prevent same from being received

at the monitoring location. These variables are undiscussed.

               While the BiOp avers that no Level A NARW takes will occur, it predicts that other

whales will suffer Level A harassment. This is an inconsistency that cannot be reconciled in the

BiOp. Furthermore, the total Level B takes of 126 and maximum annual takes of 60 violate the

ESA and MMPA.17

               In order for soft-starts to work, the undergirding assumption is that the mammals’

avoidance response will initiate, causing it to deter / evacuate the region. A study conducted by

Compton, et al. (2008) demonstrated that some mammals may, paradoxically, be attracted – not

repelled – by weaker sounds, thus exposed to potentially harmful sounds as the noise level

increases.18




17
   National Marine Fisheries Service, Letter of Authorization for the New England Wind Project
(July 22, 2024), https://www.fisheries.noaa.gov/s3/2024-07/MAAvangrid-2024LOA-LOA-
OPR1.pdf.
18
   Ross Compton, et al., A critical examination of worldwide guidelines for minimising the
disturbance to marine mammals during seismic surveys (2008),
https://www.sciencedirect.com/science/article/abs/pii/S0308597X07000607.
                                                31
          Case 1:25-cv-01678         Document 1       Filed 05/27/25       Page 33 of 47




               A study examining short-finned whales in the context of soft-starts found that the

whales, initially moved away, but then remained within 900 meters of the vessel as it passed by.19

               Another soft-start study on humpback whales found that the whales slowed their

speed toward the vessels, but importantly, did not alter their course.20

               Moreover, soft start procedures can actually increase the total amount of acoustic

energy emanated into the ocean environment, thereby worsening impacts to marine mammals and

whales.

               A study explained that, “Single transits of a management zone by visual surveys

were only able to reliably (>0.5 probability) detect right whales when more than 20 whales were

present. Twenty or more transits were required to reliably detect a single right whale.”21 This

exemplifies the absence of efficacy associated with PSOs. Visual detection of NARWs is

extremely difficult when NARWs are not grouped together in larger numbers.

               The BiOp does not analyze any of this information or consider it. Soft-starts, PSOs,

and PAM have low-efficacy.

               The BiOp contains insufficient and inadequate analysis on the impact of the

project’s activities on the NARW’s foraging, critical habitat, and migration.




19
   Caroline R. Weir, Short-finned pilot whales (Globicephala macrorhynchus) respond to an
airgun ramp-up procedure off Gabon (Sept. 2008), Aquatic Mammals, 34, 349-354,
https://www.researchgate.net/publication/228404124_Short-
Finned_Pilot_Whales_Globicephala_macrorhynchus_Respond_to_an_Airgun_Ramp-
up_Procedure_off_Gabon.
20
   Rebecca Dunlop, et al., Response of humpback whales (Megaptera novaeangliae) to ramp-up
of a small experimental air gun arra, Marine Pollution Bulletin, 103, 72-83 (2016),
https://pubmed.ncbi.nlm.nih.gov/26781958/.
21
   Valentina Ceballos, Comparison of visual and acoustic surveys for the detection and dynamic
management of North Atlantic right whales (Eubalaena glacialis) in Canada (Dec. 27, 2022),
https://conbio.onlinelibrary.wiley.com/doi/full/10.1111/csp2.12866#:~:text=Acoustic%20survey
s%20by%20Slocum%20gliders,detection%20range%20of%20acoustic%20platforms.
                                                 32
             Case 1:25-cv-01678        Document 1        Filed 05/27/25     Page 34 of 47




                  The BiOp contains no significant analysis of the impact of the project’s various

stages on the NARW’s stress response (or the stress response of other marine mammals).

                  The potential for pile driving noise to compel NARW into entanglements and buoy

lines nearby is undiscussed.

                  The potential for operational noise to compel the NARW into vessels or

entanglements nearby is undiscussed.

                  The following piece of information disclosed by the BiOp seriously undercuts the

efficacy and reliance on PSOs, as whales can be struck by vessels sub-surface. Given PSOs

efficacy is constrained to the surface, PSOs will entirely fail to detect sub-surface strikes/potential

strikes.

           Large whales also do not have to be at the water’s surface to be struck. In a study
           that used scale models of a container ship and a right whale in experimental flow
           tanks designed to characterize the hydrodynamic effects near a moving hull that
           may cause a whale to be drawn to or repelled from the hull, Silber et al. (2010)
           found when a whale is below the surface (about one to two times the vessel draft),
           there is likely to be a pronounced propeller suction effect. This modeling suggests
           that in certain circumstances, particularly with large, fast-moving ships and whales
           submerged near the ship, this suction effect may draw the whale closer to the
           propeller, increasing the probability of propeller strikes. P. 306.

                  The BiOp does not discuss the ramifications of the Quintana-Rizzo 2021 (“QR”)

study, namely that the recent shifts in right whale distribution and foraging behavior, namely that

NARWs are becoming more reliant on the southern New England region for survival, and that the

“enormous development [offshore wind energy leases] could have a local impact on right whales

at a critical time when they are becoming more reliant on the region.”22

                  In the above and numerous other respects, the BiOp fails to utilize the best science



22
   E. Quintana-Rizzo, et al., Residency, demographics, and movement patterns of North Atlantic
right whales Eubalaena glacialis in an offshore wind energy development area in southern New
England, USA (July 29, 2021), https://www.int-res.com/abstracts/esr/v45/p251-268/.
                                                   33
            Case 1:25-cv-01678        Document 1        Filed 05/27/25       Page 35 of 47




available, fails to consider critical data, and draws conclusions antithetical to the evidence before

them. And as such, Plaintiffs ACK FOR WHALES, VALLORIE OLIVER, VERONICA

BONNET, AMY DISIBIO, DOUGLAS LINDLEY, and STEVEN AND SHARYL KOHLER

have been harmed through the NMFS’ and BOEM’s violation of ESA.

                                 THIRD CAUSE OF ACTION
     [Violations Of The Outer Continental Shelf Lands Act (OCSLA)—43 U.S.C. §§ 1331, Et
                           Seq. and Administrative Procedures Act]

                 Plaintiffs reallege and incorporate by reference all of their previous allegations and

further allege as follows:

                 Plaintiffs’ OCSLA-based claim is pursued exclusively through the APA, not

OCSLA’s citizen suit provision, and it challenges BOEM’s unlawful agency action.

                 By approving the Project, BOEM violated Section 1337(p)(4)(A), (B), (D)23 in

multifarious ways.

                 BOEM’s approval failed to ensure protection of the environment and conservation

of the natural resources of the outer Continental Shelf.

                 BOEM abdicated its statutory and regulatory duty to properly, sufficiently examine

the impacts of the Project on the North Atlantic Right Whale and other marine mammals. These

impacts include but are not limited to the NARW’s migration, feeding, habitat, and other life cycle

behaviors. The inimical impacts of the Project include high resolution geophysical surveys, pile

driving, and operational phase.

                 During the construction phase of the Project (i.e., pile driving), high intensity noise

emanating from the pile driving sites will induce disruptions to the NARW and other marine

mammals’ navigational capacity, spatial orientation, potentially splitting mothers and calves, and



23
     See 43 U.S.C. § 1337(p)(4).
                                                   34
         Case 1:25-cv-01678         Document 1       Filed 05/27/25     Page 36 of 47




otherwise catalyzing behavioral disruptions that can and do eventuate in injuries and deaths.

               The Project is proposed within a critical region of feeding grounds for the NARW,

including but not limited to the area south of New England (i.e., south of Nantucket and Martha’s

Vineyard).

               The Project intends to construct up to 130 wind turbine generators with power

capacities of up to 15 MW.

               The operational phase of the Project will continue to induce perpetual impacts to

marine mammals and the NARW which heavily utilizes the region within which the Project is

proposed. This operational noise will catalyze numerous Level B and Level A takes. The

operational component’s impact on the health of marine mammals and NARW specifically is

completely unaccounted for in the BiOp, Letter of Authorization and Incidental Take Statement.

               BOEM has violated OCSLA by abdicating its duty to ensure the prevention of

pollution, discharges, or otherwise, which can degrade the marine environment.

               Pursuant to OCSLA regulations, at 30 CFR 585.105, it provides: “(a) Design your

projects and conduct all activities in a manner that ensures safety and will not cause undue harm

or damage to natural resources, including their physical, atmospheric, and biological components

to the extent practicable; and take measures to prevent unauthorized discharge of pollutants

including marine trash and debris into the offshore environment.”

               There is no evidence in the BiOp, EIS documents, LOA, or elsewhere that the

Secretary has directed the applicant or otherwise taken such steps necessary to obviate the above

from eventuating, for example, the recent blade failure event(s) attendant Vineyard Wind 1, and

the multiplicity of examples globally of recurring blade failure events. In fact, there does not

appear to be a blade failure event plan even contained in the Construction and Operations Plan.



                                               35
          Case 1:25-cv-01678        Document 1        Filed 05/27/25     Page 37 of 47




               Recently, the acting Solicitor withdrew24 Solicitor’s Opinion M-37067 and

reinstated M-Opinion 37059, which ensures that the Secretary err on the side of ensuring less

interference with reasonable uses.25 These reasonable uses include that which Plaintiffs engage in,

including but not limited to commercial fishing, sportfishing, recreational activities,

boating/shipping, etc. As such, Plaintiffs have been harmed.

               As explained by the Acting Solicitor, “The Anderson Opinion’s assertion that

‘subsection 8(p)(4) commands only that the Secretary rationally balance the subsection’s various

goals” both diminishes the importance of each subparagraph (contrast “mandatory” with “goals”),

while also opening the door to the possibility that any one criteria may be favored over another.

This no longer reflects the best, or even a permissible, agency interpretation. It must therefore be

withdrawn.’” However, the New England Wind Project was sanctioned under the erroneous

interpretation of subsection 8(p)(4), a construction that simply cannot be reconciled with the best,

proper interpretation of that provision, namely one that gives meaning and value to each individual

criterion.26 Thus, New England Wind’s approvals should be forthwith rescinded and reexamined




24
   See Off. of the Solicitor, U.S. Dep’t of the Interior, Memorandum Opinion on the Withdrawal
of Solicitor’s Opinion M-37067 and Reinstatement of M-Opinion 37059 (May 1, 2025),
https://www.doi.gov/sites/default/files/documents/2025-05/m-37086.pdf.
25
   See 43 U.S.C. § 1337(p)(4) (“(4) Requirements. The Secretary [of the Interior] shall ensure
that any activity under this subsection is carried out in a manner that provides for— . . . (I)
prevention of interference with reasonable uses (as determined by the Secretary) of the exclusive
economic zone, the high seas, and the territorial seas[.]”).
26
   See Bureau of Ocean Energy Management, New England Wind Project Record of Decision
(Apr. 1, 2024), https://www.boem.gov/sites/default/files/documents/renewable-energy/state-
activities/Record%20of%20Decision_New%20England%20Wind_OCS-A%200534.pdf (“The
Secretary’s authorization must comply with OCSLA subsection 8(p)(4) (43 U.S.C. §
1337(p)(4)), which ‘imposes a general duty on the Secretary to act in a manner providing for the
subsection’s [various policy] goals.’ According to M-Opinion 37067, “[t]he subsection does not
require the Secretary to ensure that the goals are achieved to a particular degree, and she retains
wide discretion to determine the appropriate balance between two or more goals that conflict or
are otherwise in tension.” But this Opinion, M-37067, was abrogated, rendering its
                                                36
          Case 1:25-cv-01678        Document 1        Filed 05/27/25     Page 38 of 47




under the proper subsection 8(p)(4) framework. BOEM’s disregard of the requirements of OCSLA

for offshore wind approval is arbitrary, capricious, and otherwise not in accordance with law.

               Moreover, BOEM erred in affording New England Wind a 15-year deferral in

financial assurance of decommissioning.27 As explicitly provided in 43 U.S.C. § 1337(p)(6), the

Secretary shall require the lease-holder to furnish a surety bond or other form of security and

provide for the “restoration of the lease, easement, or right-of-way.” 43 U.S.C. § 1337(p)(6)(c).

               And in 30 CFR 585.516, the implementing regulations ostensibly stipulate financial

assurances as a prerequisite to installation of facilities. “Before BOEM will . . . (3) Allow you to

install facilities approved in your COP . . . you must provide . . . A supplemental bond or other

authorized financial assurance in an amount determined by BOEM based on anticipated

decommissioning costs of the proposed facilities [emphasis added].”

               The Secretary was without legal authority in approving the Project. The available

evidence evinces that the Project will not provide for the protection of the environment, the

conservation of the natural resources of the Outer Continental Shelf, safety; and moreover, the

Secretary has not taken steps to effectuate the Project’s compliance with 30 CFR 585.105.

Accordingly, OCSLA has been violated, and the Project’s approvals must be rescinded prior to the



operational force null and void. Thus, New England Wind’s approval was predicated upon
an erroneous interpretation of OCSLA.).
27
   See Bureau of Ocean Energy Management, New England Wind 1 COP Approval Letter (July
1, 2024), https://www.boem.gov/sites/default/files/documents/renewable-energy/state-
activities/New%20England%20Wind%201%20OCS-
A%200534%20COP%20Approval%20Letter%20signed.pdf; see also Bureau of Ocean Energy
Management, New England Wind 2 COP Approval Letter (July 1, 2024),
https://www.boem.gov/sites/default/files/documents/renewable-energy/state-
activities/New%20England%20Wind%202%20OCS-
A%200561%20COP%20Approval%20Letter%20signed.pdf; see also Bureau of Ocean Energy
Management, Vineyard Wind 1 COP Approval Letter (June 15, 2021),
https://www.boem.gov/sites/default/files/documents/renewable-energy/3779-FINAL-Approval-
Letter.pdf.
                                                37
          Case 1:25-cv-01678          Document 1      Filed 05/27/25       Page 39 of 47




construction of the Project.

               And as such, Plaintiffs ACK FOR WHALES, VALLORIE OLIVER, VERONICA

BONNET, AMY DISIBIO, DOUGLAS LINDLEY, and STEVEN AND SHARYL KOHLER,

DANNY PRONK, WILLIAM VANDERHOOP, AND RHODE ISLAND PARTY AND

CHARTER BOAT ASSOCIATION, have all been harmed through violation of OCSLA.

                               FOURTH CAUSE OF ACTION
                    [Violations Of The National Historic Preservation Act
                           and the Administrative Procedures Act]

               Plaintiffs reallege and incorporate by reference all of their previous allegations and

further allege as follows:

               Plaintiffs WAMPANOAG TRIBE OF GAY HEAD, AQUINNAH and STEVEN

KOHLER AND SHARYL KOHLER own historic properties within BOEM’s identified Areas of

Potential Effects and will be harmed under the NHPA.

               First, it is indisputable that all of Nantucket is designated as a historic landmark as

evidenced     by    its      status   on   the    National     Register     of    Historic    Places:

https://npgallery.nps.gov/NRHP/SearchResults?view=list. Further, “Nantucket was designated a

local historic district in 1955 under early historic preservation legislation established by the

Commonwealth of Massachusetts. It was listed as an NHL in 1967, just 1 year after the passage of

the National Historic Preservation Act.”28

               The lands of the WAMPANOAG TRIBE OF GAY HEAD (Aquinnah) held by the

United States in trust for the benefit of the Wampanoag Aquinnah Tribe are on the island of

Martha’s Vineyard. All other aforesaid Plaintiffs own properties on the island of Nantucket.



28
  Bureau of Ocean Energy Management, Cumulative Historic Resources Visual Effects
Assessment (Dec. 23, 2022), https://www.boem.gov/sites/default/files/documents/renewable-
energy/New_England_Wind_Cumulative_HRVEA_compliant.pdf.
                                                 38
          Case 1:25-cv-01678         Document 1       Filed 05/27/25      Page 40 of 47




               As such, these Plaintiffs’ properties are deemed “historic” due to their location on

the historically designated island of Nantucket, and the historical designation for the

WAMPANOAG TRIBE OF GAY HEAD, AQUINNAH. This confers standing to Plaintiffs

regarding their National Historic Preservation Act claims.

               Section 106 of the National Historic Preservation Act (“NHPA”), 54 U.S.C. §

306108, demands that “the head of any Federal agency having direct or indirect jurisdiction over

a proposed Federal or federally assisted undertaking in any State and the head of any Federal

department or independent agency having authority to license any undertaking, prior to the

approval of the expenditure of any Federal funds on the undertaking or prior to the issuance of any

license, shall take into account the effect of the undertaking on any historic property.”

               BOEM determined that New England Wind 1 and 2 is an “undertaking” within the

meaning of 54 U.S.C. § 306108, and thus subject to Section 106 review.29

               The regulations implementing Section 106 at 36 CFR 800.2 et seq., provide that

Section 106 consultation involves a) initiation of consultation (undertaking determined), b)

identification of historic properties in the Area of Potential Effects, c) assessment of whether the

action would engender adverse effects to historic properties, and d) resolution of adverse effects.

               Part and parcel of this consultation is sufficient involvement of the public, see 36

CFR 800.2(d)(1)-(3), “The agency official shall seek and consider the views of the public in a

manner that reflects the nature and complexity of the undertaking and its effects on historic

properties, the likely interest of the public in the effects on historic properties, confidentiality




29
   Bureau of Ocean Energy Management, New England Wind Project Final Environmental
Impact Statement Appendix A (Mar. 1, 2024) at A-10,
https://www.boem.gov/sites/default/files/documents/renewable-energy/state-
activities/New_England_Wind_App_A_EnviroPermits_Consult.pdf.
                                                 39
          Case 1:25-cv-01678          Document 1        Filed 05/27/25      Page 41 of 47




concerns of private individuals and businesses, and the relationship of the Federal involvement to

the undertaking.” 36 CFR 800.2 (d)(1).

               “The agency official must, except where appropriate to protect confidentiality

concerns of affected parties, provide the public with information about an undertaking and its

effects on historic properties and seek public comment and input. Members of the public may also

provide views on their own initiative for the agency official to consider in decisionmaking.” 36

CFR 800.2 (d)(2).

               Secondarily, Nantucket is a historic landmark within the Area of Potential Effects,

therefore, BOEM was required to assess whether the undertaking would engender adverse effects

to this historic island. As BOEM conceded, the impact to Nantucket is significant, “BOEM’s

(2022) Finding of Adverse Effect found that the proposed Project’s adverse effect on the district

is . . . based on the maritime orientation of the island and its inhabitants, as the undeveloped ocean

view is integral to the character, setting, feeling, and association of the historic property.”30

               BOEM found that Nantucket would indeed be “adversely affected” by the proposed

project: “BOEM determined that, in addition to the five resources listed above, the proposed

Project would also adversely affect the Nantucket Sound TCP on Martha’s Vineyard, as well as

the Nantucket Historic District National Historic Landmark (NHL). These properties all fall within

the area of “intervisibility,” defined as the geographic intersection of the viewshed from which

structures from the proposed Project and other offshore wind projects in the RI/MA Lease Areas

would be theoretically visible.” Id. at 4.




30
   Bureau of Ocean Energy Management, Cumulative Historic Resources Visual Effects
Assessment (Dec. 23, 2022) at 28,
https://www.boem.gov/sites/default/files/documents/renewable-
energy/New_England_Wind_Cumulative_HRVEA_compliant.pdf.
                                                  40
          Case 1:25-cv-01678         Document 1        Filed 05/27/25      Page 42 of 47




               “Overall, the undertaking would contribute less than other projects to the

cumulative visual effects of offshore wind on Nantucket District NHL. Also, WTGs would not be

visible from approximately 80 percent of the Nantucket District NHL, which means only about 20

percent of the island would experience adverse visual effects on their southern viewshed (COP

Appendix III-H.b; Epsilon 2023).”31

               “BOEM has concluded that the undertaking would adversely affect the Nantucket

District NHL through the introduction of new ocean-founded visual elements that are out of

character with the historic setting, feeling, and association of the resource, thereby diminishing its

integrity. While the proposed undertaking is only partially visible from the Nantucket District

NHL, and meteorological conditions would often obscure the view of the proposed Project, making

it visible primarily during ideal weather conditions, the existence of the undertaking’s visual

elements ultimately are out of character and thus adversely affect the NHL.”32

               Moreover, BOEM engages in specious logic to conclude that the proposed New

England Project is acceptable due to the fact that it will not (purportedly) result in a loss of the

Aquinnah area’s historical designation. See below verbiage extracted from BOEM’s Section 106

Visual Effects Assessment.

       “Undeveloped ocean views are a qualifying characteristic of historic setting of the
       Gay Head Lighthouse, Aquinnah Cultural Center, and Aquinnah Shops Area. In
       particular, the ocean views relate directly to the function of the lighthouse and its
       value. Nonetheless, the degree to which the characteristic of undeveloped ocean
       views is diminished by the visibility of WTGs offshore is small relative to the other
       aspects of integrity that remain intact for all three resources. BOEM (2022)
       determined that the direct adverse visual effect of the proposed Project on the three


31
   Bureau of Ocean Energy Management, New England Wind Project Final Environmental
Impact Statement Appendix J (Mar. 1, 2024) at J-32,
https://www.boem.gov/sites/default/files/documents/renewable-energy/state-
activities/New_England_Wind_App_J_FOE.pdf.
32
   Id. at J-31.


                                                 41
             Case 1:25-cv-01678         Document 1       Filed 05/27/25     Page 43 of 47




          Aquinnah area resources would not diminish the integrity of the properties to the
          extent that it would disqualify them for NRHP eligibility. Although the cumulative
          effect of the other offshore wind projects would further adversely affect the
          setting of the Aquinnah area resources, this effect would not increase
          proportionately with the number of theoretically visible WTGs installed and would
          be moderated by the similar characteristics of the WTGs, the distance from the
          properties, and environmental and meteorological conditions that limit visibility.
          While the proposed Project and other offshore wind projects would have long-
          term and cumulative adverse effects on the overall historic setting and other
          aspects of the integrity of the Aquinnah area resources, these projects would not
          diminish the integrity of these resources to the extent that it would disqualify the
          Gay Head Lighthouse, Aquinnah Cultural Center, or Aquinnah Area Shops from
          NRHP eligibility [emphasis added].”

                    BOEM acknowledges the adverse effect of the New England project to Aquinnah

area resources, BOEM appears to rely on factitious mitigations such as “meteorological

conditions” that reduce visibility, “similar characteristics” of the turbines and the Project’s

comparatively lesser effect in isolation versus other projects. But this does not eliminate or

alleviate the fact that a significant adverse harm will be incurred by the Aquinnah area resources,

thus harming the WAMPANOAG TRIBE OF GAY HEAD, AQUINNAH.

                    Pursuant to 36 CFR 800.6, BOEM is required to consult with various parties and

“to develop and evaluate alternatives or modifications to the undertaking that could avoid,

minimize, or mitigate adverse effects on historic properties.”

                    However, BOEM was derelict in its duty to require legally adequate mitigation of

the adverse visual effects of New England Wind 1 and 2 on the historic, archeological, and cultural

areas.

                    The essence of the visual adverse effect mitigations can be effectively condensed

into two putative mitigations: first, that the color of the turbines be painted “no lighter than RAL

9010 Pure White and no darker than RAL 7035 Light Grey.”33 However, this is standard Federal



33
     Id. at J-38.
                                                   42
          Case 1:25-cv-01678         Document 1        Filed 05/27/25      Page 44 of 47




Aviation Administration compliance, and is not tantamount to a meaningful mitigation. The WTGs

will still be fully visible with this color scheme, and no cogent evidence was posited that same

reduces WTG visibility in a way that attenuates the adverse effect on Nantucket.

               Secondarily, BOEM required “Aircraft Detection Lighting System” (ADLS),

which simply indicates that the warning lights would activate only when an aircraft is in the

vicinity. But this entirely fails to mitigate the visual intrusion during daylight hours, which is the

principal time frame during which the adverse visual effect occurs.

               Note that, “An essential component of a reasonably complete mitigation discussion

is an assessment of whether the proposed mitigation measures can be effective . . . The Supreme

Court has required a mitigation discussion precisely for the purpose of evaluating whether

anticipated environmental impacts can be avoided . . . A mitigation discussion without at

least some evaluation of effectiveness is useless in making that determination.” South Fork Band

Council of Western Shoshone of Nevada v. U.S. Department of the Interior, 588 F.3d 718 (9th Cir.

2009).

               As such, the agency cannot simply delineate various mitigations with no

substantive analysis of whether these mitigations will actually impart the intended effect of

mitigating the visual impact.

               The mitigations required for visual adverse effect do not, in fact, materially alter

the visual appearance of the turbines.

               There is no cogent evidence that such mitigations diminish the intensity of the

adverse visual effect on Nantucket or Martha’s Vineyard.

               Therefore, Plaintiffs will suffer harm due to the adverse visual effect of New

England Wind 1 and 2 on their properties located on historic Nantucket and Martha’s Vineyard.



                                                 43
          Case 1:25-cv-01678        Document 1       Filed 05/27/25      Page 45 of 47




               As such, BOEM arbitrarily and capricious concluded that it “resolved” the adverse

effects of New England Wind 1 and 2, in violation of 36 CFR § 800.6 and NHPA Section 106.

Authorizing the New England Wind 1 and 2 Project without Section 106 compliance was arbitrary,

capricious, and contrary to law.

               Furthermore, Section 110(f) demands a heightened degree of scrutiny with respect

to minimizing harm to National Historic Landmarks. 54 U.S.C. § 306107.

               “Section 110(f) of the act requires that the agency official, to the maximum extent

possible, undertake such planning and actions as may be necessary to minimize harm to any

National Historic Landmark that may be directly and adversely affected by an undertaking. When

commenting on such undertakings, the Council shall use the process set forth in §§ 800.6 through

800.7 and give special consideration to protecting National Historic Landmarks as specified in this

section.” 36 CFR 800.10(a).

               “Resolution of adverse effects. The agency official shall request the Council to

participate in any consultation to resolve adverse effects on National Historic Landmarks

conducted under § 800.6.” 36 CFR 800.10(b).

               BOEM failed to comply with the heightened standards of scrutiny stipulated under

these statutory and regulatory provisions. It failed to undertake adequate planning and actions

necessary to minimize harm to Nantucket and Martha’s Vineyard. It failed to conduct adequate

visual simulations, and assess and resolve adverse effects to Nantucket and Martha’s Vineyard.

               The mitigation measures are legally inadequate and do not satisfy the criteria set

forth by Section 110(f).

               Therefore, without employing all possible planning to reduce harm to Nantucket

and Martha’s Vineyard, BOEM violates Section 110(f) through authorization of the project. This



                                                44
          Case 1:25-cv-01678           Document 1      Filed 05/27/25     Page 46 of 47




approval was arbitrary, capricious and contrary to law. Plaintiffs STEVEN AND SHARYL

KOHLER and WAMPANOAG TRIBE OF GAY HEAD, AQUINNAH have been and are harmed

as a result of the aforesaid.

                                          Prayer for Relief
                Plaintiffs ask the Court for the following relief:

                An order holding unlawful, vacating, and setting aside Defendants’ February 2024,

decision approving the Construction and Operations Plan for the New England Wind Project, as

arbitrary, capricious, and otherwise not in accordance with law;

                An order holding unlawful, vacating, and setting aside Defendants’ April 1, 2024,

decision approving the New England Wind Record of Decision as arbitrary, capricious, and

otherwise not in accordance with the law;

                An order holding unlawful, vacating and setting aside Defendants’ MMPA Letter

of Authorization;

                Adjudge and declare that Defendant NMFS’ February 16, 2024 BiOp, was

arbitrary, capricious, and unlawful;

                Adjudge and declare that Defendant NMFS’ February 16, 2024 BiOp for the New

England Wind 1 and 2 project violates Section 7(a)(2) of the ESA because it concludes, with

insufficient evidence, that BOEM’s action (i.e., approval of the New England Wind 1 and 2

Project) will not jeopardize the North Atlantic Right Whale or any other federally-listed species;

                Adjudge and declare that Defendant BOEM’s approval of the New England Wind

1 and 2 Project violates Section 7(a)(2) of the ESA because BOEM failed to ensure that its actions

do not jeopardize the North Atlantic Right Whale and all other federally-listed species potentially

affected by the Project;

                Reasonable attorneys’ fees and costs for bringing this suit; and,

                                                  45
        Case 1:25-cv-01678       Document 1       Filed 05/27/25      Page 47 of 47




             Such other and further relief as the Court deems appropriate.


                                                  Respectfully submitted,

                                                  s/Nancie G. Marzulla
                                                  Nancie G. Marzulla, Bar No. 400985
                                                  (Local Counsel)
                                                  Marzulla Law, LLC
                                                  1150 Connecticut Ave., NW
                                                  Suite 1050
                                                  Washington, D.C. 20036
                                                  (202) 822-6760
                                                  nancie@marzulla.com

                                                  Thomas Stavola Jr. Esq.
                                                  Pro Hac Vice Pending
                                                  NJ Bar ID number: 380012022
                                                  Law Office of Thomas Stavola Jr. LLC
                                                  209 County Road 537
                                                  Colts Neck, NJ 07722
                                                  tstavolajr@stavolalaw.com
                                                  732-539-7244

Dated: May 27, 2025                               Counsel for Plaintiffs




                                             46
